Case 1:15-cv-00980-LPS-CJB Document 119 Filed 02/10/17 Page 1 of 6 PageID #: 4627



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  BOSTON SCIENTIFIC CORPORATION                )
  and BOSTON SCIENTIFIC SCIMED,                )
  INC.,                                        )
                                               )
                 Plaintiffs,                   )
                                               )
         v.                                    )       Civil Action No. 15-980-LPS-CJB
                                               )
  COOK GROUP INCORPORATED and                  )
  COOK MEDICAL LLC,                            )
                                               )
                Defendants.                    )

                                    MEMORANDUM ORDER

         At Wilmington this 10th day of February, 2017.

         WHEREAS, the Court has considered the parties' letter submissions, (D.1. 109, 110,

  113), relating to Plaintiffs Boston Scientific Corporation and Boston Scientific Scimed, Inc.

 (collectively, "BSC") and Defendants Cook Group Incorporated and Cook Medical LLC's

 (collectively, "Cook") pending motion to resolve a protective order dispute, (D.I. 94);

         NOW, THEREFORE, IT IS HEREBY ORDERED that:

         1.     With regard to the parties' dispute as to the scope of the proposed amendment to

 the inter partes review ("IPR") provision in the Protective Order, (D.I. 37   at~   16), the Court will

 ADOPT BSC's proposal in-part and Cook's proposal in-part, (see D.I. 109, ex. 1). Specifically,

 the Court will DENY Cook's proposed modification requiring BSC's outside counsel Matthew

 Wolf and Patrick Reidy to withdraw from representing BSC in this litigation before participating

 in the IPR proceedings. (Id at 4) The Court will also DENY BSC's proposal to allow

 participation in the IPR proceedings by BSC's in-house counsel and any attorneys at Arnold &


                                                   1
Case 1:15-cv-00980-LPS-CJB Document 119 Filed 02/10/17 Page 2 of 6 PageID #: 4628



  Porter Kay Scholer LLP ("APKS") who have access to information designated by Cook as

  CONFIDENTIAL or HIGHLY CONFIDENTIAL, even if (as is proposed) those attorneys would

 have no involvement in IPR-related claim drafting or amendments. (Id.) And the Court will

 DENY Cook's proposal limiting the exception to the post-grant proceedings bar to the specific

 APKS attorneys identified in Cook's proposal. (Id.; D.1113 at 3-4)

          2.    As Cook points out, the burden of amending a protective order is on the moving

 party. (D.I. 113 at 1-2 (citing Phillips Petroleum Co. v. Rexene Prods. Co., 158 F.R.D. 43, 46

 (D. Del. 1994))) The Court has been mindful of that burden in addressing the disputes herein.

          3.    With regard to Mr. Wolf and Mr. Reidy, an amendment to the operative Protective

 Order is not necessary in order for them to participate in IPR proceedings. The current version of

 the Protective Order provides that "Plaintiffs' counsel, and any other Qualified Person at

 Plaintiffs, with access to Defendants' Confidential Information shall be barred from participating

 in any inter partes reviews .... " (D.1. 37 at~ 16 (emphasis added)) BSC has assured Cook that
      (

 neither Mr. Wolf nor Mr. Reidy have been given access to nor have reviewed Cook confidential

 information, and that the attorneys will not review "any Cook confidential information while

 working on the IPRs[,]" if they later do in fact work on the IPRs. (D.I. 109 at 3; see also id., ex.

 4) Nothing in the current Protective Order precludes attorneys who have not accessed or

 reviewed (and will not access or review) Cook's confidential information from representing BSC

 both in this litigation and in the IPR proceedings. To impose such a restriction would require an

 expansion of the post-grant proceedings bar, so Cook bears the burden to demonstrate why the

 risk of inadvertent disclosure outweighs the harm to BSC of losing its counsel of choice. See

 Toshiba Samsung Storage Tech: Korea Corp. v. LG Elecs., Inc., Civil Action No. 15-691-LPS-


                                                   2
Case 1:15-cv-00980-LPS-CJB Document 119 Filed 02/10/17 Page 3 of 6 PageID #: 4629



  CJB, 2016 WL 447794, at *1 n.l (D. Del. Feb. 4, 2016) (hereinafter, "TSST-IC).

               4.     In its previous Memorandum Order regarding the Protective Order, the Court

  assessed the "risk of inadvertent disclosure" factor and the "harm to BSC" factor. (See D.I. 36 at

 'if'il 6-9)    This led to the implementation of the current Protective Order. (D.I. 37) Cook has not

 provided any new evidence demonstrating how Mr. Wolfs or Mr. Reidy's work on the district

  court litigation presents a now-increased risk of inadvertent disclosure, sufficient to justify an

  expansion of the post-grant proceedings bar. Indeed, as Mr. Wolf and Mr. Reidy have not

  accessed and will not access Cook's confidential information, that risk appears to be quite low.

  Cook does argue that it "would always have to be on the lookout for Messrs. Wolf and

 Reidy ... to make sure they do not receive Defendants' confidential information, which is an

 unfair burden [on Cook,]" and that even though Cook will try not to send the two attorneys

 Cook's confidential information, "mistakes may occur[.]" (D.I. 113 at 4) But Cook provides no

 specific example as to how this "burden" has impacted it so far. And it seems like it should be

 the rare case where a party could successfully argue that the prospect of its own lack of future

 vigilance as to the protection of its confidential information should militate in favor of altering a

 previously-agreed-upon protective order to its benefit. 1 In the end, Cook has not met its burden

 to show why this change to the Protective Order should be made. Thus, the Court will deny the

 proposed modification requiring Mr. Wolf and Mr. Reidy to withdraw their appearances in the

 district court litigation in order to participate in the IPR proceedings.

               5.     Next, the Court assesses BSC's proposed modification providing that:

                      ... BSC's in-house counsel Mr. Gafner and any attorneys at APKS


                      Cook has certainly not provided any case law supportive of such a position.

                                                       3
Case 1:15-cv-00980-LPS-CJB Document 119 Filed 02/10/17 Page 4 of 6 PageID #: 4630



                 who have or will have access to and/or have reviewed or will
                 review information designated by Defendants as CONFIDENTIAL
                 or HIGHLY CONFIDENTIAL under the Protective Order may
                 participate in the IPR Proceedings, except that they may not have
                 any involvement in any discussions, drafting or analysis of any
                 proposed claim language or claim amendments.

  (D.I. 109, ex. 1 at 4) In finding good cause to include the current iteration of the post-grant

 proceedings bar in the Protective Order, the Court stated that "there [was] nothing specific in the

  evidentiary record before the Court as to the harm that BSC would suffer from having restrictions

 imposed on its right to counsel of its choice[,]" and that BSC's eventual explanations of those

 potential harms amounted to "simply attorney argument." (D.I. 36 at 'if'il 7-8) The Court noted

 that it "would consider a request to modify the Protective Order in the future as to this issue, if

 the evidence warrants it." (Id. at 'if 9 ~emphasis added)) But (and even though the Court had

 previously invited it to do so) BSC points to no new record evidence (such as information as to

 affected counsel's prior experience with the patents-in-suit, with the subject matter of the case, or

 in handling BSC-related IPR proceedings) that would indicate why the harm it would suffer from

 the post-grant proceedings bar is any more understandable now than it was when the Court

 initially imposed that bar.

         6.      Further, the Court disagrees with BSC's contention that Cook faces "no

 risk ... that information from this litigation could be used to prejudice Cook in the IPRs." (D.I.

  109 at 4) That risk is surely more circumscribed in an IPR proceeding, where amended claims

 may be narrowed, not broadened. But as Cook argues, even ifBSC's counsel is formally

 excluded from the claim drafting or amendment process, there remains a risk of BSC (even

 inadvertently) strategically narrowing the scope of its claims based on information that it learns



                                                    4
Case 1:15-cv-00980-LPS-CJB Document 119 Filed 02/10/17 Page 5 of 6 PageID #: 4631



  (about currently accused products, or products under development) from Cook's confidential

  information. (D.I. 113 at 2; see also MIA-Com Tech. Sols. Holdings, Inc. v. Laird Techs., Inc.,

  Civil Action No. 14-181-LPS, (D.I. 166) (D. Del. July 31, 2014)) That risk does exist even if

 outside counsel does not participate directly in drafting claim language or claim amendments in

 the IPR proceeding. (See D.I. 113 at 2)2 And, as the Court has previously found, the magnitude

 of the risk is heightened here, in light of the vigorous competition between the parties, as well as

 the prolific nature ofBSC's activity at the United States Patent and Trademark Office. (D.I. 36

 at~   3; D.I. 113 at 1 & ex. A)

          7.     BSC cites several cases in which courts have permitted "litigation counsel who

 have reviewed confidential information to participate in IPRs-particularly if they agree that they

 will not participate in claim amendments." (D.I. 109 at 4 (citing cases)) But the fact that the

 benefit-harm balance weighed in favor of a patentee in other cases does not absolve BSC of its

 burden here. And based on the record evidence here, the Court cannot find that the harm BSC

 will suffer is greater than it was when the Court adopted the original Protective Order (which

 bars counsel who have reviewed confidential information from participating in IPR proceedings).

 Therefore, BSC's request for modification in this regard will be denied.

          8.     The parties' final dispute, which is mentioned only by Cook in the letter briefing,

 is whether the exception to the post-grant proceedings bar should be limited to the specific APKS

 attorneys identified in Defendants' proposal. (D.I. 113 at 3-4; see also D.I. 109, ex. 1 at 1, 4)

 Here again, Cook seeks to impose a restriction that is beyond that imposed by the current


          2
                As Cook notes, the risk of harm from inadvertent disclosure would fall away if
 BSC had stipulated that it would not amend its claims during IPR proceedings, but BSC has not
 done so. (D.I. 113 at 2)

                                                   5
Case 1:15-cv-00980-LPS-CJB Document 119 Filed 02/10/17 Page 6 of 6 PageID #: 4632



 Protective Order. And so, Cook bears the burden of demonstrating good cause for its proposed

  limitation. Here too, it has not done so. In support of its proposed modification, Cook argues

 that "given the risks and circumstances of this case, Defendants need some ability to assess any

 potential objection before [an attorney's] participation in the IPR proceedings." (D.I. 113 at 4

  (emphasis in original)) But the current Protective Order addresses the "risks ... of this case" by

 barring any attorney who accesses or reviews confidential Cook material from participating in

 IPR proceedings. The Court has every expectation that BSC will comply with the Protective

 Order. And Cook has not sufficiently explained what has changed since the adoption of the

 current Protective Order that calls that expectation into question. Consequently, the Court will

 deny this proposed modification.

         9.     The parties are ORDERED to submit a final proposed Protective Order,

 incorporating the above decisions, by no later than February 17, 2017.




                                                       Christopher J. Burke
                                                       UNITED STATES MAGISTRATE JUDGE




                                                  6
